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               IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

                        THIRD JUDICIAL DISTRICT AT KODIAK

                                               ) Case No.: 3KO 13 00367CI
ANGELA BUSHELL,                                )
IAN BUSHELL,                                   )
individually and as guardians in fact and next )
                                               )
friend of five minor children to wit:          )
SoB, b 7/11/00                                 )
EB, b 6/19/07                                  )
SeB, b 9/21/05                                 )
CB, 3/20/09                                    )
and SCN, b 3/14/02                             )
                                               )
                                               )
                  Plaintiffs,
                                               )
       vs.                                     )
                                               )
the                                            )
KODIAK AREA NATIVE                             )
      ASSOCIATION (KANA),                      )
RACHELLE JOY,                                  )
MARIE GREEN,                                   )
                                               )
JOANNA MCFARLIN,
                                               )
CASSY HICKEY,                                  )
ANA STEVENS,                                   )
TAMMY HANSEN,                                  )
ANDY TEUBER,                                   )
MILTON BOHAC,                                  )
LORETIA NELSON,                                )
ALFRED B. CRATTY,                              )
                                               )
ARNOLD KEWAN,
                                               )
CHERYL CHRISTOFFERSON,                         )
PHYLLIS AMODO,                                 )
JILL BOSKOFSKY                                 )
ALEX PANAMAROFF, JR.                           )
MARGARET ROBERTS                               )
SPERIDON M. SIMEONOFF, SR.                     )
                                               )
                                               )
                     Defendants.




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                                            COMPLAINT

                                          INTRODUCTION

        On April4, 2013, in Kodiak, Alaska, Defendant Joanna McFarlin, an employee ofthe

Kodiak Area Native Association (KANA), called Plaintiff Angela Bushell by telephone. She

told Plaintiff to bring her five children immediately to the KANA building at 3484 Rezanof

Drive for an investigation into child sexual abuse allegedly committed against one of the five

children. Defendant Joanna McFarlin told Plaintiff Angela Bushell that if she did not comply,

she, Plaintiff, would be arrested and put in jail. Under threat of arrest, jail, and other duress,

Plaintiff Angela Bushell brought her five minor children, Plaintiffs SoB, EB, SeB, CB, and SCN

to the KANA building at about 11 :00 a.m. on that morning. Then and there, Defendants locked

Plaintiff Angela Bushell and her five minor children inside the building and held them there,

against their will, without legal justification or excuse or due process of law. Defendants

imprisoned these Plaintiffs for a period of five hours until their release at about 4:00p.m. on that

afternoon.

                                  JURISDICTION AND VENUE

1.      All acts or omissions on the part ofthe Defendants in this case occurred in Kodiak,

     Alaska, in the Third Judicial District of the State of Alaska.

2.      Jurisdiction in the Superior Court for the State of Alaska, Third Judicial District at

     Kodiak, is appropriate under AS 22.10.040.

3.      Venue is appropriate in Kodiak under Rule 3(c) and Rule 3(d) of the Alaska Rules of

     Civil Procedure.



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                                                PARTIES

      Plaintiffs

4.       Plaintiff Angela Bushell is an adult individual married to Plaintiff Ian Bushell and the

      biological mother ofEB, SeB, CB, and SCN. She is the female head of household for SoB,

      the biological daughter ofPlaintifflan Bushell.

5.       Plaintifflan Bushell is an adult individual married to Plaintiff Angela Bushell and the

      biological father of SoB, EB, SeB, and CB. He is the male head ofhousehold for SCN, the

      biological son of Plaintiff Angela Bushell.

6.       Plaintiffs Angela and Ian Bushell are guardians in fact and parents of the five minor

      Plaintiffs listed below.

7.       Plaintiff SoB is female minor child in the Bushell household.    She is represented in this

      litigation by Ian Bushell and Angela Bushell, as next friend.

8.       PlaintiffEB is a female minor child in the Bushell household. She is represented in this

      litigation by Ian Bushell and Angela Bushell, as next friend.

9.       PlaintiffSeB is a female minor child in the Bushell household. She is represented in this

      litigation by Ian Bushell and Angela Bushell, as next friend.

10.       Plaintiff CB is a male minor child in the Bushell household. He is represented in this

      litigation by Ian Bushell and Angela Bushell, as next friend.

11.      PlaintiffSCN is a male minor child in the Bushell household.     He is represented in this

      litigation by Ian Bushell and Angela Bushell, as next friend.

12.      All Plaintiffs reside in Kodiak, Alaska.



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 Defendants

13.      Defendant Kodiak Alaska Native Corporation (KANA) is an Alaska non-profit

      corporation in good standing. Defendant KANA has its organizational headquarters in

      Kodiak, Alaska, at 3449 East RezanofDrive. Its Registered Agent is Mr. Andy Teuber.

14.      Defendant Rachelle Joy is an employee of KANA and resides and works in Kodiak,

      Alaska.

15.      Defendant Joanna McFarlin is an employee of KANA and resides and works in Kodiak,

      Alaska.

16.      Defendant Cassy Hickey is an employee of KANA and resides and works in Kodiak,

      Alaska.

17.      Defendant Ana Stevens is an employee of KANA and resides and works in Kodiak,

      Alaska.

18.      Defendant Tammy Hansen, Vice President of Health Services at KANA, is an employee

      ofKANA and resides and works in Kodiak, Alaska.

19.      Defendant Andy Teuber, President and ChiefExecutive Officer at KANA, is an

      employee of KANA and resides and works in Kodiak, Alaska.

20.      Defendant Milton Bohac is an employee ofKANA and resides and works in Kodiak,

      Alaska.

21.      Defendant Loretta Nelson is the Chair ofthe Board of Directors for KANA and resides in

      Kodiak, Alaska.




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22.      Defendant Alfred B. Cratty is the Vice Chair of the Board of Directors for KANA and

      resides in Kodiak, Alaska.

23.      Defendant Arnold Kewan is the Secretary of the Board of Directors for KANA and

      resides in Kodiak, Alaska.

24.      Defendant Cheryl Christofferson is the Treasurer ofthe Board of Directors for KANA

      and resides in Kodiak, Alaska.

25.      Defendant Phyllis Amodo is a Member ofthe Board of Directors for KANA and resides

      in Kodiak, Alaska.

26.      Defendant Jill Boskofsky is a Member of the Board of Directors for KANA and resides

      in Ouzinkie, Alaska.

27.      Defendant Alex Panamaroff, Jr. is a Member ofthe Board of Directors for KANA and

      resides in Larsen Bay, Alaska.

28.      Defendant Margaret Roberts is a Member ofthe Board of Directors for KANA and

      resides in Kodiak, Alaska.

29.      Defendant Speridon Simeonoff, Sr., is a Member of the Board ofDirectors for KANA

      and resides in Kodiak, Alaska.

30.      Defendant Gary Watson is a Member of the Board of Directors for KANA and resides in

      Kodiak, Alaska.

      Unnamed Defendants

31.      Upon information and belief, there are KANA employees, shareholders, owners, or

      managers, and other individuals, unknown at this time and unnamed in this Complaint, who,



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      in addition to the named Defendants, committed the acts and omissions complained of

      herein.

                                          REAL PROPERTY
32.      At all times relevant to the acts and omissions described in this Complaint, Defendant

      KANA either owned in fee or held a possessory leasehold interest in the building located at

      3484 East RezanofDrive, Kodiak, Alaska.

33.      At all times relevant to the acts and omissions described in this Complaint, Defendant

      KANA occupied and controlled at least a portion of the building located at 3484 East

      RezanofDrive, Kodiak, Alaska.

34.      At all times relevant to the acts and omissions described in this Complaint, policies and

      procedures promulgated and implemented by Defendant KANA governed the conduct of

      activities at the building located at 3484 East RezanofDrive, Kodiak, Alaska.

35.      Defendant KANA, by supervision, policy, or procedure, accommodates the use of the

      building at 3484 East Rezanof Drive as a Child Advocacy Center (CAC). Information about

      the Child Advocacy Center is publically available on the KANA website

      at http://www.kanaweb.org/html/health-programs/child-services.php.

36.      According to that website, a child advocacy center is a specialized facility in which a

      multidisciplinary team of representatives from many agencies, including law enforcement,

      child protection, prosecution, mental health, medical and victim advocacy work together to

      conduct interviews and make team decisions about the investigation, treatment, management

      and prosecution of child abuse cases.



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37.      All of the acts or omissions described in this Complaint as occurring on AprilS, 2013,

      occurred at 3484 East Rezanof Drive, Kodiak, Alaska.

                                      GENERAL ALLEGATIONS

38.       In our civilized society, all human beings have a right to liberty which may not be

      infringed without due process oflaw.

39.       Defendants who are or were employees of Defendant KANA were at all times relevant to

      the acts and omissions alleged in this Complaint performing as agents or employees and with

      the consent of Defendant KANA.

40.      The acts of the individual Defendants were in accordance with and represent policies and

      procedures of Defendant KANA approved by management or the Board of Directors.

41.      At all times alleged herein, Defendants employed by KANA committed acts or omissions

      on their on their own accord and as employees and agents of KANA.

42.       Each of the Defendants is in some manner intentionally, negligently, or otherwise

      responsible for the acts or omissions alleged in this Complaint.

43.       Each of the acts or omissions alleged in this Complaint was performed by, or attributable

      to, all Defendants, each acting as the agent for the other, with legal authority to act on the

      other's behalf.

44.       Each Defendant ratified each and every act or omission in this Complaint.

45.       Each Defendant aided and abetted the acts and omissions of each and all of the other

      Defendants in proximately causing the damages to the Plaintiffs.

46.       Each Defendant owed a duty of care to the Plaintiffs.



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47.      Each Defendant is liable jointly and severally for the damages to the Plaintiffs.

                                                 FACTS

Acts or Omissions of Aori15, 2013

48.      On April 5, 2013, in Kodiak, Alaska, Defendant Joanna McFarlin made a phone call to

      Plaintiff Angela Bushell. In that call, Defendant McFarlin told Plaintiff Angela Bushell that

      there had been an allegation of child sexual abuse involving Plaintiff Angela Bushell's

      daughter, Plaintiff SoB, and that Plaintiff Angela Bushell was to bring all five ofher children

      to the KANA Building at 3484 East RezanofDrive for interviews.

49.      Then and there, on the telephone, Defendant McFarlin told Plaintiff Angela Bushell that

      if she did not bring the children to the KANA building, she, meaning Plaintiff Angela

      Bushell, would be subject to arrest and sent to jail, or words to that effect.

50.       Under threat of arrest and jail, and under duress, Plaintiff Angela Bushell retrieved all

      five of her children from school and drove them in the family car to the KANA building at

      3484 East RezanofDrive.

51.       When Plaintiff Angela Bushell and the five minor children reached the KANA building

      at 3484 East RezanofDrive, Defendant KANA employees imprisoned Plaintiff Angela

      Bushell and all five minor children inside the building, intentionally, wrongfully, and without

      justification or excuse.

52.       The Defendant KANA employees present at the KANA building that day accomplished

      this imprisonment by denying these Plaintiffs any and all means by which they could

      communicate with the outside world.


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53.      The Defendant KANA employees present at the KANA building that day accomplished

      this imprisonment by locking exit doors, by coercion, intimidation, and threats, and by

      keeping intent watch over Plaintiff Angela Bushell and the five minor Plaintiffs, even when

      individual Plaintiffs needed to take care of comfort requirements including food, drink, and

      use ofthe bathroom facilities.

54.      The Defendant KANA employees present at the KANA building that day accomplished

      this imprisonment by refusing all requests to leave made many times over the course of the

      day by each and every one ofthe Plaintiffs at that location.

55.      The Defendant KANA employees present at the KANA building that day had no

      authority under color of law to confine innocent individuals against their will for any length

      of time.

56.      This detention and imprisonment of the Plaintiffs was intentional, reckless, without due

      process, and without legal justification or excuse.

57.      The Defendants' conduct toward these Plaintiffs caused physical, mental, and emotional

      distress of a very serious kind and nature.

58.      At the time of these incidents and before, Plaintiffs were emotionally and physically

      healthy, active, and fully capable of engaging in normal day-to-day activities. Since the time

      of their false arrest and unlawful imprisonment, Plaintiffs have suffered severe emotional

      distress and mental anguish, affecting their psychological well-being.




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      Acts or omissions prior to April 5, 2013

59.      As of April5, 2013, Defendant KANA had in effect a policy which provided for the

      "total lock down" of its facilities when victims and witnesses were present for interviews.

60.      The officers and directors of Defendant KANA, in management and on the Board of

      Directors, intentionally, recklessly, or negligently allowed the KANA staff to author,

      construct, promulgate, approve, and implement a policy whereby innocent citizens of the

      Kodiak community could be falsely imprisoned against their will, without legal justification

      or excuse, and without due process of law.

61.      Defendants knew, or should have known, that a policy which provided for the unlawful

      detention of innocent persons, behind locked doors, without legal justification or excuse and

      without due process of law, was likely to cause damage to these Plaintiffs and other citizens

      of the Kodiak community.

62.      Defendants knew or should have known that this conduct was likely to result in serious

      harm.

63.      In promulgating and implementing this "total lock down" policy, Defendant KANA

      breached its duty of care owed to Plaintiffs and to all members of the Kodiak community.

      Acts or Omissions Following AprilS, 2013

64.      In the days immediately following the false arrest and imprisonment of Plaintiffs on April

      5, 2013, and continuing to the present time, Defendants engaged in a course of conduct

      designed to conceal their wrongful and unlawful conduct, intimidate the Plaintiffs, and



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      impede innocent fact-finding into the circumstances of that day. In colloquial parlance,

      Defendants "circled the wagons" and overtly thwarted all reasonable attempts to discover

      why Plaintiffs had been locked up in the building.

65.      When Plaintifflan Bushell tried to learn more about what happened, Defendants gave

      false, misleading, and evasive answers to his questions about the management structure at

      Defendant KANA.

66.      Because Defendants refused to provide this public information in a reasonable manner,

      Plaintiff Ian Bushell discovered the names and email addresses of the Board of Directors on

      the KANA website. On May 19, 2013, Plaintiff Ian Bushell sent an email addressed to each

      member of that Board complaining about the way his family was treated on April 5, 2013,

      copied to Defendant Joanna McFarlin.

67.      Defendants have yet to respond to that correspondence.

68.      Instead, Defendants engaged in active retaliation against him, made overt efforts to keep

      him from discovering any more information about the events of April 5, 2013, and ultimately

      made false and misleading accusations in court and under oath about him.

69.      The very next day, on May 20,2013, Defendant Rachelle Joy filed for an ex parte

      Stalking Protective Order, 3KO 13 0169 Cl, in District Court in Kodiak, Alaska. In her

      Affidavit, Defendant Rachelle Joy falsely alleged that Plaintiff Ian Bushell had been

      "banging" on the KANA building on April 5, 2013 and that on April 16, 2013, (sic. This

      visit occurred on May 16) Plaintiffhad visited the KANA facility "huffing and pacing."

      Defendant Rachelle Joy and the other Defendants knew that Plaintiff Ian Bushell was acting



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      calmly and rationally and asking legitimate questions about the imprisonment of his family

      and the process for making a formal complaint to management about it.

70.      The effect of this ex parte protective order was to prohibit Plaintiff Ian Bushell from any

      further contact with KANA or its employees, and to physically keep him away from the

      KANA building on Rezanof Drive. This curtailed his fact finding.

71.      Defendant Rachelle Joy's individual action against Plaintiff Ian Bushell was piece of

      sham litigation undertaken for the benefit of Defendants specifically to intimidate Plaintiffs

      from taking action or continuing fact-finding into events of April 5, 2013.

72.      After losing her request for a long term protective order against Plaintiff Ian Bushell, on

      or about September 11, 2013, during a chance encounter in a public place in Kodiak,

      Defendant Rachelle Joy loudly called Plaintiff Angela Bushell a "witch" in front of children

      of both parties.

73.      Defendant KANA hired and paid for an Anchorage attorney with the law firm ofSonosky

      Chambers Sachse Miller & Munson, LLP, to represent Defendant Rachelle Joy as an

      individual in this sham litigation. That attorney entered an Appearance in 3KO 13 0169 CI

      and flew to Kodiak for the long term Stalking Protective Order hearing held on August 20,

      2013.

74.      At all times, Defendants and counsel knew or should have known that the allegations of

      stalking under AS 11.41.270, which requires repeated acts that place a person in fear of death

      or physical injury, were baseless and could not be proven in a court of law.




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75.      At the hearing on August 20, 2013, Defendants Rachelle Joy, Marie Green, Cassy

      Hickey, and Joanna McFarlin gave false and misleading testimony under oath. These

      Defendants accused Plaintiff Ian Bushell of inappropriate behavior towards them, including

      outlandish and unsubstantiated accusations of stalking.

76.      At that hearing, Defendant Marie Green gave false and misleading testimony that on May

      16, 2013, during his visit to the KANA building, Plaintifflan Bushell was upset, "would not

      take no for an answer," and was "rude and demanding".

77.      Plaintifflan Bushell has an actual audio recording of that encounter which he used at that

      hearing to show beyond any doubt that his visit to 3484 East Rezanof had been, if anything,

      polite and courteous.

78.      At that hearing, Defendant Cassy Hickey testified that on April5, 2013, a "silver car"

      drove slowly through the parking lot at 3484 East Rezanof and exited the parking lot by

      driving through the ditch. She implied through her testimony that Plaintiff Ian Bushell had

      been driving this "silver car."

79.      Prior to Defendant Hickey's testimony, Defendants made no attempt to discover whether

      Plaintifflan Bushell was the actual driver of the "silver car" or if he owned or had access to

      any "silver car."

80.      At that hearing, Defendant Joanna McFarlin accused Plaintiff Ian Bushell of calling her

      home and hanging up and driving slowly past her home "in a blue car" even though she

      could not identify the caller nor the driver.




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81.      Prior to Defendant McFarlin's testimony, Defendants made no attempt to discover

      whether Plaintiff Ian Bushell was the actual driver of the "blue car" or if he owned or had

      access to any "blue car."

82.      At that hearing, Defendants, through counsel acting on behalf of individual Defendant

      Rachelle Joy, marked Plaintiff Ian Bushell's May 19, 2013 email to the KANA Board of

      Directors as an exhibit and submitted it as evidence of stalking behavior, as ifhis legitimate

      complaints as stated in that email were some kind of crime.

83.      This false and misleading testimony, in a court of law, was intended to assist Defendants

      continue to conceal the nature and extent ofthe gross and unlawful misconduct committed on

      April 5, 2013.

84.      This course of conduct evidenced an attitude of disinterest and lack of concern for any

      ramifications of Defendants' unlawful conduct toward the Plaintiffs on April 5, 2013.

85.      This course of conduct evidenced an unwillingness on the part of Defendants to evaluate

      their own wrongful and unlawful actions, accept any responsibility for their actions, or make

      amends to the Bushell family.

                            ACTS OR OMISSIONS RELEVANT TO THE
                             IMPOSITION OF PUNITIVE DAMAGES
                                  (AS 09.17.020 and common law)
                                       As to all Defendants

86.      Paragraphs 1 through 85 are herein incorporated.

87.      Each and every act or omission described above was intentional, outrageous, and done

      with malice or bad motives.




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88.       Each and every act or omission described above evidenced a reckless indifference to the

      interests of the Plaintiffs and other persons.

89.      Each and every act or omission described above was likely to result in serious harm to

      Plaintiffs and other members of the Kodiak community.

90.      Defendants were aware, at all times, that the conduct described above was likely to result

      in serious harm to Plaintiffs and other members of the Kodiak community.

91.      The conduct described herein was not an isolated instance, but a continued course of

      conduct that endured from the time Defendant KANA and its Defendant employees

      promulgated and implemented the "total lock down" policy described above until the present

      time.

92.      The Defendants have made extraordinary efforts to conceal this conduct, to prevent the

      nature of this conduct from being exposed to public review and criticism, and to avoid

      assuming responsibility for these unlawful acts and omissions.

93.      The attitude and conduct of the Defendants since Plaintifflan Bushell began to seek

      information about the treatment of his family has been deplorable, and has been characterized

      by concerted efforts to conceal from the public and the community the fact that Defendants

      use a "total lock down" policy to unlawfully confine members ofthe Kodiak community in

      the KANA building.

94.      Defendants' conduct toward the Bushell family and toward other members of the Kodiak

      community has been so extreme and atrocious that it goes beyond the bounds of decency.




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95.      Defendants' conduct toward the Bushell family and toward other members of the Kodiak

      community would be considered utterly intolerable in a civilized society.

                                            COUNT I
                                    (Common Law False Arrest)
                                       As to All Defendants

96.      Paragraphs 1 through 95 are herein incorporated.

97.      The actions of the Defendants constitute false arrest under the common law.

                                           COUNT II
                                (Common Law False Imprisonment)
                                     As to All Defendants

98.      Paragraphs 1 through 95 are herein incorporated.

99.      The actions of the Defendants constitute false imprisonment under the common law.

                                          COUNT III
                      (Common Law Intentional Infliction ofEmotional Distress)
                                      As to All Defendants

100.      Paragraphs 1 through 95 are herein incorporated.

101.     As a direct and proximate result of Defendants' acts and omissions, Plaintiffs have

      suffered severe emotional distress and mental anguish affecting their psychological well-

      being.

                                      . COUNTIV
                     (Common Law Negligent Infliction of Emotional Distress)
                                   As to All Defendants

94.       Paragraphs I through 95 are herein incorporated.




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95.      Defendants knew or should have known that the conduct described herein would and did

proximately result in physical and emotional distress to Plaintiffs and other innocent citizens of

the Kodiak Community.

102.     At all relevant times, Defendants had the power, ability, authority, and duty to stop

      engaging in the conduct described herein and to prevent and prohibit this conduct.

103.     Despite this knowledge, power, and duty, Defendants negligently failed to act so as to

      stop engaging in this conduct or to prevent and prohibit this conduct.

104.     As a direct and proximate result of Defendants' acts and omissions, Plaintiffs have

      suffered severe emotional distress and mental anguish affecting their psychological well-

      being.

                                               COUNT XX
                                           (Common Law Fraud)
                                            As to all Defendants

I05.     Paragraphs I through 95 are herein incorporated

106.     Defendant McFarlin falsely represented material facts to Plaintiff Angela Bushell in

      telling Plaintiff Angela Bushell that if she did not bring her five children to the KANA

      building, she would be arrested and put in jail.

I 07.    These representations were in fact false. The truth was that Defendant McFarlin had no

      police or arrest authority and no legal process by which she could compel Plaintiff Angela

      Bushell or anybody else to act against her own free will.

108.     At the time Defendant made these representations, she know them to be false and she had

      no reason to believe them to be true.



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109.   Defendant McFarlin made these representations with the intend to defraud and to induce

   Plaintiff to come to the KANA facility with her five children against her will.

110.   At the time Plaintiff Angela Bushell acted, she did not know the representations were

   false and she believed them to be true. Plaintiff Angela Bushell acted in justifiable reliance

   upon the truth of these representations.

111.   Defendants had, and continue to have, the means of obtaining and actual possession of

   knowledge that they cannot lawfully imprison innocent members of the Kodiak community

   without due process oflaw. As a result of this superior knowledge, Defendants gained an

   unconscionable advantage over Plaintiffs, who were ignorant of their rights to liberty under

   the law and not in a position to become informed of those rights while in the custody and

   control ofthe Defendants.

                                       COUNTY
                         (Common Law Negligent Supervision)
   As to Defendant KANA, Defendant Andy Teuber, and Defendants on the KANA Board qf
                                      Directors                                  ~

112.   Paragraphs 1 through 95 are herein incorporated.

113.   Defendant KANA, Defendant Andy Teuber, and Defendants on the KANA Board of

   Directors owed Plaintiffs and other members of the Kodiak community a duty to use care in

   the promulgation of policies and procedures governing the use ofKANA facilities.

114.    Defendants KANA, Andy Teuber, and the KANA Board of Directors negligently allowed

   KANA employees to promulgate and implement a policy which provided for the unlawful

   confinement of innocent citizens of the Kodiak community in its facilities without due

   process of law. In so doing, these Defendants failed to exercise reasonable managerial


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   responsibilities for facilities use, risk management, or policy. Thereby, these Defendants

   negligently breached this duty to use due care, which directly and proximately resulted in the

   damages to Plaintiffs as alleged in this Complaint.

                                              JURY TRIAL

       Plaintiffs demand a trial by jury.

                                         PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs demand as follows:

       That process issue to all Defendants and that they be required to answer in the time

   allowed by law.

       That judgment be rendered in favor ofthe Plaintiffs, and against the Defendants, jointly

   and severally, for actual damages in an amount to be shown at trial.

       That Plaintiffs be awarded punitive damages against the Defendants, jointly and

   severally, in an amount to be established at trial.

       That Plaintiffs be awarded reasonable expenses incurred in bringing this action, including

   reasonable attorney and expert fees and expenses.

       That Plaintiffs be awarded any other further and general relief as may be appropriate.

       A jury for the trial of this matter.

                                               Respectfully submitted,

                                               los/

                                               ELIZABETH W. FLEMING
                                               Attorney for Plaintiffs
                                               AKBar No 0911052



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